Case 1:22-cv-06010-RER-CLP               Document 77    Filed 04/30/25     Page 1 of 34 PageID #:
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                               UNITED STATES DISTRICT COURT                                    rt
                               EASTERN DISTRICT OF NEW YORK                                           "liii
                                                                                               NJj I
                                                                                              ITT
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                                                                                               ;3s;   rr,
 LEROY JONES, on behalfofhimselfand
 others similarly situated in the proposed                           22 Civ. 6010 (RER) (CLlg
 FLSA Collective Action^                                                                              o
                                                                                                      l-ri

                        Plaintiff,

       V.




 MEGA HOME & LINEN, INC., and
 SHAUN ZAKARIA,

                           Defendants.




        I, Shaun Zakaria, declare under the penalty of perjury, and pursuant to 28 U.S.C. § 1746,

 that the following is true and accurate:

         1.     I am the defendant in the above-captioned action and, as such, I am fully familiar

 with the facts and circumstances and history of this matter.

        2.      This declaration is submitted in opposition to plaintiffs motion which seeks to

 freeze my assets before trial and disrupt my estate plan on the grounds that it uncalled for.

 premature, and as I have been telling Judge Poliak since the begiiming the plaintiff did not work

 for me as he is alleging and during the time he did work for me he was properly paid.

        3.      There was no intent to defraud the plaintiff. I met with an estate plaiming attorney

 at the beginning of this year to discuss preparation of my estate without any regard to the lawsuit

 filed by Mr. Jones. A copy of the estate planning retainer agreement with my estate attorney is

 attached as Exhibit “A”.




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          4.     As the agreement shows, I hired Attorney Raymond Zeitoune to help me prepare

  for the future and my passing. My wife being younger and healthier, and on the advice of our estate

  planner, it made sense to transfer it to her name as part of a comprehensive estate plan.

          5.     In fact it was always supposed to be in my wife’s name. It was originally in my

  name only and in 1997 we transferred it to both of our names but it was supposed to be in her

  name.



          6.     We have no intention of selling the house before our death nor moving out of it.

  The property rights of my wife and I have no relation to this lawsuit. The property in question is

  our home and it is where we intend to live for the rest of our lives.    There is a mortgage on the

 property. I cannot believe or understand how Mr. Jones and his attorney could decide who owns

 our home at this time or at any time. He has no judicial decision in his favor and he hasn’t even

 taken depositions yet.

          7.     We have disclosed time and pay records for Mr. Jones - many times. He completely

 ignores them. He has no case. He was a short term employee who was paid via payroll based upon

 a punch in and out time clock and all of these records have been disclosed. Jason Mizrahi is using

 fancy legal arguments to try to intimidate me into settling a case which has absolutely no merit.

          8.     The house in question was purchased in the name of Shaun Zakaria. A copy of the

 deed, transferring it to Mr. Zakaria’s wife Julie in 1997, since her father paid for it, is attached as

 Exhibit “B”. At that time, it was mistakenly transferred to Shaun and Julie Zakaria rather than just

 Julie Zakaria. Regardless, Julie Zakaria lives in the house, is a proper owner, and is likely to long

 outlive Shaun Zakaria. She has always been the proper owner of the property.

          9.     Part of our estate plan, on advice of counsel, was to transfer the house to the name

 of Julie Zakaria. This is unrelated to the lawsuit of Leroy Jones. In fact, Jason Mizrahi wrote to




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  my estate lawyer and was advised of this information. My lawyer told him he knows nothing about

  the litigation and only does estate planning. See correspondence from Raymond Zeitoune, Esq., to

  Jason Mizrahi, dated April 14, 2025, attached as Exhibit “C”.

          10.    I have lived in the house with Julie and our children for almost thirty (30) years.


  We have no intention of ever selling the house.

         11.     Jason Mizrahi knows very well that he could ask for this relief at a more appropriate

  time, i.e., if he wins the case after the lawsuit is done. He is just doing this emergency motion to

  intimidate me and to scare me just like he has been doing for the past three years. With no evidence

  he has been making up texts, and stories about me following him around and claiming falsely that

  1 have been harassing him when it is the other way around, because he understands that his client

  has no case.


         12.     Jones was hired on April 6, 2022 and worked for about four months. The payroll

  records have been provided to Jason Mizrahi and they are attached to this response as Exhibit “D”.

 They consist of time cards and payment records (payments to Jones were by direct deposit).

         13.     It is extremely premature and inaccurate to assume that Mr. Jones has a strong

  lawsuit or is going to even prevail. It would appear to be harsh, unjust and unfair to do anything

  against my property or Julie Zakaria’s property in a case where there has been no testimony on the

 part of plaintiff, not even an affidavit has been submitted, and the barebones complaint is riddled

 with errors, omissions and misstatements of fact. At the trial I will have witnesses who can

 corroborate and show that Jason Mizrahi and Leroy Jones are lying.

         14.     To say there is an undeveloped record of the supposed “strength” of plaintiffs case

  is an understatement. I have been dealing with a nonresponsive attorney for years. It took a year

  for Mr. Mizrahi to even serve the case. I turned over my payroll records to him promptly and he




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 never responds to my communications. The egregious claims in the case are supported by a

 barebones complaint, not any affidavits or admissible evidence, and certainly no finding of merit.

 Mr. Mizrahi conveniently doesn’t even provide the actual payroll records which I have been

 providing since the beginning. See Exhibit “D”.

         15.      There is no need for any prejudgment attachments - the house in question is where

 I live with my family. It is not for sale. It is not going to be sold. There is no money judgment to

 enforce. Mr. Mizrahi is wasting his time, the court’s time and my time focusing on my life and not

 litigating this case.

         16.     There was no intent to defraud the plaintiff or his attorney; the case has no merit;

 there are well founded defenses which plaintiffs counsel refuses to listen to and which have yet

 to be litigated and this whole request is intimidating and nonsensical.

         For all of these reasons, the I respectfully ask Your Honor to deny the motion in its entirety.

 Dated: New York, New York
          April 28, 2025

                                                        Respectfully subpnJJSd,



                                                        ShaiJ^Zaki     ^defendant pro se
                                                        bOS^Jamai^a Avenue
                                                        ^opklyn. New York 11207
                                                        pfephone (917) 560-5527
                                                        x-mail: shaunzakarial @iimail.com



 To:     Jason Mizrahi, Esq.
         Joshua Levin-Epstein & Associates, P.C.
         60 East 42"*^ Street - 47*'’ Floor
         New York, New York 10165
         Telephone (212) 792-0048
         Attorneys for Plaintiff




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                      EXHIBIT “A
Case 1:22-cv-06010-RER-CLP             Document 77 Filed 04/30/25 Isaac
                                                                     Page  6 ofPartner
                                                                        Yedid,  34 PageID #:
                      YEDID           & ZEITOUNE. PLLC I5aac@yzlaw0ffice.com
                                              543
                      A Professional Sennce Limited Liability Company
                                                                                Raymond Zeitoune, Partner
                      2442 Ocean Avenue, Suite A                                Ra>Tnond@3^1awoffice .com
                      Brooklyn, New Y ork 11229
                       (347) 461-9800



                                Re:      Fstate Planning Retainer Agreement


  Dear Mr. & Mrs. Zakaria:

                    This Letter of Engagement (this “Letter Agreement”) is furnished to you in accordance
  with Part 1215 of the Joint Rules of the Appellate Division and will confirm our understanding tha^ou
  (“Client”) have retained Yedid & Zeitoune, PLLC (“Attorneys”) to perform legal services specified herein.
  1.        Scope of Representation. Client retains Attorneys for the purpose of representing Client in the
            following Estate Planning matters (the “Matters”)^
                ●   Last Will & Testament for each of you;
                ●   NY Durable Powers of Attorney for each of you;
                ● NY Living Wills and Healthcare Proxies for each of you; and
                ● Supervision of execution of all documents at our Brooklyn office.
            This representation is limited to the transactions contemplated by the above Matters. Attorneys are
            not required to perform any legal services outside the scope of representation set forth in this
            Agreement unless agreed to in writing by Attorneys.
   2.       Attorney Fees. The fees are broken down as follows:
                                                                                               S450
                     Initial Consultation:
                                                                                               $650
                     Last Will and Testament for Husband:
                                                                                               $550
                     Durable Power of Attorney for Husband:
                                                                                               $550
                     Living Will Healthcare Proxy for Husband:                                 $650
                     Last Will and Testament for Wife:
                                                                                               $550
                     Durable Power of Attorney for Wife:
                                                                                               $550
                     f living Will Healthcare Proxy for Wife;
                                                                                               $3,950
                     TOTAL FEES BEFORE DISCOUNT:

                     COURTESY DISCOUNTS:
                      Initial Consultation;                                                     ($450)
                                                                                                ($750)
                      additional COURTESY DISCOUNT - FRlEND/FAMILYi

                     TOTAL DISCOUNTS:                                                           ($1,200)

                                 Client shall pay Attorneys a non-refundablc amount of
                        TWO    THOUSAND SEVEN HUNDRED FIFTY DOLLARS ($2,750.00).

       3.     Expenses. Client shall reimburse Attorneys for expenses (such as travel, postage, long-distance
              telephone, telecopy charges, computerized research facilities, messenger services, and any legal or
              other expenses) incurred with your prior approval in connection with any action or proceeding in
              which Attorneys (or any of their partners or employees) become involved m any capacity in

                                                                                              Page 1 of 4
       Case 1:22-cv-06010-RER-CLP                   Document 77            Filed 04/30/25        Page 7 of 34 PageID #:
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                    connection with sendees rendered for Client. In the event significant out-of-pocket expenses are
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                    incurred. Client may be requested to pa>' those expens

         4,         Discontinuance of Legal Services. .Attorneys reserv e the right to p-ostpone or de              providing
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                    additional services or to discontinue ser-'ices hereunder it < i» Client fails ic hone,
                    Letter Agreement, (ii) Client fails to cooperate or follow Attorn-
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                     or (iii) there are circumstances which would, in the view of .Artcroey render-Anomey
                                                                                                      hail
                                                                                                           s' contuvuing
                                                                                                           be entitled to
                     representation unlawful or unethical. Nonvithstanding the foregoing, .Attorney      ued on Gienf s
                     be paid fees for all services rendered and charges for all out-of-pocket expenses acen
                     behalf as of the date of discontinuance of legal sendees.

          5.         Right to Arbitration- In the event that a dispute arises between Attorneys and Client relating to
                     Attorneys fees or any other matter, Client may have the right to arbitration of the dispute pursuant
                     to Part 137 of the Rules of the Chief Administrator of the Courts, a copy of which will be provided
                     to Client upon request.

          6.         Entire Agreement. This Letter Agreement is the entire agreement betw-een Attorneys and Chenh
                     and it supersedes all prior agreements whether written or oral. CLIENT ACKNOWLEDGES
                     THAT HE/SHE HAS READ THIS LETTER AGREEMENT, THAT ATTORNEYS HAVE
                     DISCUSSED THIS LETTER AGREEMENT’S TERMS AND THAT ATTORNEYS HAVE
'*-c                 ANSWERED ALL QUESTIONS THAT CLIENT MAY HAVE HAD. CLIENT AGREES TO
                     BE BOUND BY THE TERMS OF THIS LETTER AGREEMENT.                             THERE ARE NO OTHER
                      AGREEMENTS BETWEEN THE PARTIES.

                      If the foregoing is in accordance with your understanding, please sign
           below and return a copy of this Letter Agreement to our Brooklyn offic^with
           your      INITIAL payment of SI (900.                                                                           fy f-TO
           A $1350 BALANCE                      WILL BE DUE UPON DELIVERY OF DRAFT
           DOCUMENTS.

                      Please feel free to contact us with any questions or concerns.

                        This will confirm our understanding that you have retained Yedid & Zeitoune, PLLC to perform
               legal services specified, herein:
                                                                           Sincerely,




                                                                            Raymond Zeitoune

               I hereby retain    id & zeitoune, PLLC as my personal counsel upon the terms set forth above;

                                                                   Date:
                                  AKARIA




                                                                                                             Page 2 of 4
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                                                    545

                                                                                   Isaac Yedid, Partner
                       YEDID & ZEITOUNE,                                           Isaac@yzlawoffice.com
                       A Professional Service Limited Liability' Compofiy
                                                                                   Raymond Zeitoune,Pi7rm<2/'
                       2442 Ocean Avenue, Suite A                                  Raymond@yzla\voffi ce .com
                       Brooklyn, New York 11229
                       (347) 461-9800


                         Re:       Deed Transfer/Estate Planning Retainer Agreement


Dear Mr. Zakaria:


                This LeUer of Engagement (this “Letter Agreement”) is furnished to you in accordance with Part
1215 of the Joint Rules of the Appellate Division and will confirm our understanding that you (“Client”) have
retained Yedid & Zeitoune, PLLC (“Attorneys”) to perform legal services specified herein:

1.      Scope of Representation. Client retains Attorneys for the purpose of representing Client in the following
        estate planning matters (the “Matters”):

            ●   ONE NY Deed Transfer (2008 EAST 13'^“ STREET) from current state to only Have your Wife
                on the deed, and
            ●   Supervision of execution of all documents at our Brooklyn office.

        This representation is limited to the transactions contemplated by the above Matters. Attorneys are not
        required to perform any legal services outside the scope of representation set forth in this Agreement unless
        agreed to in writing by Attorneys.

2.      Attorney Fees. Client shall pay Attorneys a non-refundable amount of ONE THOUSAND THREE
        HUNDRED FIFTY DOLLARS ($1,350.00).

        The fees are broken down as follows:

                NY Deed Transfer:                                                                    $1,500
                NY State Filing Fee for Deed Transfer:                                               $400

                TOTAL FEES &. EXPENSES
                BEFORE DISCOUNT:                                                                     $1,900

                COURTESY DISCOUNT:                                                                   ($550)


        Client shall pay Attorneys a non-refundable amount of ONE THOUSAND THREE HUNDRED FIFTY
        DOLLARS ($1,350.00).

 3.     Expenses. Client shall reimburse Attorneys for expenses (such as travel, postage, long-distance telephone,
        telecopy charges, computerized research facilities, messenger services, and any legal or other expenses)
        incurred with your prior approval in connection with any action or proceeding in which Attorneys (or any
        of their paitners or employees) become involved in any capacity in connection with services rendered for
        Client. In the event significant out-of-pocket expenses are incurred. Client may be requested to pay those
        expenses directly and/or in advance.

 4.     Discontinuance of Legal Services. Attorneys reserve the right to postpone or defer providing additional
        services or to discontinue services hereunder if (i) Client fails to honor the terms of this Letter Agreement,
        (ii) Client fails to cooperate or follow Attorneys’ advice on any material matter, or (iii) there are
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                                                  546



       circumstances which would, in the view of Attorneys, render Attorneys’ continuing representation unlawful
       or unethical. Notwithstanding the foregoing. Attorneys shall be entitled to be paid fees for all services

       rendered and charges for all out-of-pocket expenses accrued on Client’s behalf as of the date of
       discontinuance of legal services.

5.     Right to Arbitration. In the event that a dispute arises between Attorneys and Client relating to Attorneys
       fees or any other matter, Client may have the right to arbitration of the dispute pursuant to Part 137 of the
       Rules of the Chief Administrator of the Courts, a copy of which will be provided to Client upon request.

6.      ASSET PROTECTION DISCLAIMER. ATTORNEYS HAVE ADVISED CLIENT THAT
        TRANSFERRING CLIENT’S ASSETS TO A TRUST, OR DEEDING PROPERTY TO A
        DIFFERENT NAME, AFFORDS NO PROTECTION FROM CREDITORS WITH
        RESPECT TO CLAIMS, OR POTENTIAL CLAIMS, IN EXISTENCE PRIOR TO THE
        TRANSFER, WHETHER OR NOT CLIENT IS AWARE OF ANY SAID CLAIMS OR
        POTENTIAL CLAIMS AGAINST CLIENT.

7.      Entire Agreement. This Letter Agreement is the entire agreement between Attorneys and Client, and it
        supersedes all prior agreements whether written or oral. CLIENT ACKNOWLEDGES THAT HE/SHE
        HAS READ THIS LETTER AGREEMENT, THAT ATTORNEYS HAVE DISCUSSED THIS LETTER
        AGREEMENT’S TERMS AND THAT ATTORNEYS HAVE ANSWERED ALL QUESTIONS THAT
        CLIENT MAY HAVE HAD. CLIENT AGREES TO BE BOUND BY THE TERMS OF THIS LETTER
        AGREEMENT. THERE ARE NO OTHER AGREEMENTS BETWEEN THE PARTIES.

       If the foregoing is in accordance with your understanding, please sign below and return a copy of this
Letter Agreement to our Brooklyn office with your payment of $1,350 will be due upon delivery of draft
documents. Please feel free to contact us with any questions or concerns.

        This will confirm our understanding that you have retained Yedid & Zeitoune, PLLC to perform legal
services specified herein:
                                                      Sincerely,
                                                                               \




                                                          Raymond Zeitoune

I hereby retain   laid & Zeitoune, PLLC as my personal counsel upon the terms set forth above:

                                                 Date:
Mr.      rn
Case 1:22-cv-06010-RER-CLP   Document 77   Filed 04/30/25   Page 10 of 34 PageID #:
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                      EXHIBIT “A
                                                                                     Isaac Yedid, Partner
                 YEDID & Document
Case 1:22-cv-06010-RER-CLP          ZEITOUNE,  77 FiledPLLC
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                                                             04/30/25 Isaac@yzlawoffiGe.com
                                                                        Page 11 of 34 PageID #:
                 A Professional Sei-vice Limited Liability Company
                                                                      Raymond Zeitoune, Partner
                 2442 Ocean Avenue, Suite A                           Ra3T3iond@A^la\voffice.com
                 Brooklyn, New Y ork 11229
                            (347) 461-9800



                                     Re:     Fstate Planning Retainer Agreement


   Dear Mr. & Mrs. Zakaria:

                          This Letter of Engagement (this “Letter Agreement”) is furnished to you in accordance
        ■ a, r, ^ 101^;   f tv,p Inint Rules of the Appellate Division and will confirm our understanding that you
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   1.          Scope of Representation. Client retains Attorneys for the purpose of representing Client in the
               following Estate Planning matters (the “Matters”):
                    ●     Last Will & Testament for each of you;
                     ●    NY Durable Powers ofAttorney for each of you;
                     ● NY Living Wills and Healthcare Proxies for each of you; and
                     . Supervision of execution of all documents at our Brooklyn office.
                This representation is limited to the transactions contemplated by the above Matters. Attorneys
                                                                                                                  are



                not required to perform any legal services      outside the scope of representation set forth in this
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    2.          Attorney Fees. The fees are broken down as follows:
                                                                                                    S450
                           Initial Consultation:
                                                                                                    S650
                           Last Will and Testament for Husband:                                     S550
                           Durable Power ofAttorney for Husband:                                    $550
                           Living Will Healthcare Proxy for Husband:                                 $650
                           Last Will and Testament for Wife:                                         $550
                           Durable Power ofAttorney for Wife:                                        $550
                           T.iving Will Healthcare Proxy for Wif^                            —
                                                                                                     $3,950
                           TOTAL FEES BEFORE DISCOUNT:

                            COURTESY DISCOUNTS:
                                                                                                     ($450)
                            Initial Consultation:                                   _         ^
                                                                                                     ($750)
                            ADDITIONAT . COURTESY DISCOUNT - FRIEND/FAMILYi
                                                                                                     ($1,200)
                            TOTAL DISCOUNTS:

                                       Client shall pay Attorneys a non-refundable amount of
                              TWO THOUSAND          SfW hundred fifty DOLLARS ($2,750.00).

         3.       Expenses     Client shall reimburse Attorneys for expenses (such as travel, postage, long-distan
                  telephone, telecopy charges, computerized researchinfacilities, messenger services, and any legal or
                                                                        connection with any action or proceeding m
                  other expenses) incurred with your prior approval
                  which Attorneys (or any of their partners or em ployees) become involved in any capacity in

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     Case 1:22-cv-06010-RER-CLP                  Document 77             Filed 04/30/25      Page 12 of 34 PageID #:
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                  connection with sen'ices rendered for Client. In the event significant out-of“p<x:ket expenses
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                   incurred. Client may be requested to pa>- those expenses directly and- or in adv ance.

        4,         Discontinuance of Legal Services. Auomeys reser\ e the right tojx>stpone or deter
                   additional services or to discontinue sep.-ice5 hereunder if Ghent rails to honor vhc lemii t !=
                   Letter Agreement, (ii) Client fails to cooperate or follow Aaome>-s' ad\ ice on any matenai maiten
                   or (iii) there are circumstances wh Ich w ould, in the v iew of Attoms> s. render Attorneys conunumg
                   representation unlawful or unethical. Nonvithstanding the foregoing. Attorneys snail ^
                   be paid fees for all services rendered and charges for all out-of-pocket expenses accrue^ on Cneiu =
                   behalf as of the date of discontinuance of legal sendees.

        5.         Right to Arbitration. In the event that a dispute arises between Attorneys and Client relating to
                   Attorneys fees or any other matter, Client may have the irght to arbitration of the dispute pursuant
                   to Part 137 of the Rules of the Chief Administrator of the Courts, a copy of which will be provided

                    to Client upon request.

                    Entire Agreement. This Letter Agreement is the entire agreement beween
                    and it supersedes all prior agreements whether written or oral. CUENT^KNOJA LEDGES
                    that he/she has read this letter agreement, that attorneys have
                    DISCUSSED THIS LETTER AGREEMENT’S TERMS AND THAT
St                  ANSWERED ALL QUESTIONS THAT CLIENT MAY HAVE HAD. CLIENT ACMES TO
                    BE BOU-ND BY THE TERMS OF THIS LETTER AGREEMENT. THERE ARE NO OTHER
                    AGREEMENTS BETWEEN THE PARTIES.

                    If the foregoing is in accordance with your understanding, please sign
             below and return a copy of this Letter Agreement to our Brooklyn offic^with                                        a
             your INITIAL payment of $1^0.                                                                                ‘//
             A S1350 BALANCE                    WILL BE DUE UPON DELIVERY OF DRAFT
             documents.

                     Please feel free to contact us with any questions or concerns.

                     This will confirm our understanding that you have retained Yedid & Zeitoune, PLLC to perform
             legal services specified.herein:
                                                                          Sincerely,




                                                                          Raymond Zeitoune

              I hereby retain    id & Zeitoune, PLLC as my personal-counsel upon the terms sec forth above-.

                                                                 Date:
                                 AKARIA




                                                                                                            Page 2 of 4
Case 1:22-cv-06010-RER-CLP   Document 77   Filed 04/30/25   Page 13 of 34 PageID #:
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                       EXHIBIT “B
Case 1:22-cv-06010-RER-CLP                        Document 77                         Filed 04/30/25                       Page 14 of 34 PageID #:
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                THIS INOENTURE, made Ihe             24fc^^dayol November
                BETWEEN
                                                                                     2008 East 13th Streets
                               SHAUN ZAKARIA, residing at
                               Brooklyn, New YorK




                party Dime Oral part, and                                                      his    wife.        both residing
                                SHAUN ZAKARIA AND JULIE JAKARTA,                                     New        York
                                at     2008 East 13th Street, Brooklyn,




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                      THENCE northerly along the westerly side
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                                                                                                     of East 13th Street
                      feet to the point or place                                        2008     East       13th Street, Brooklyn,
                      SAID premises also being known as
                      New      York
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                      BEING      the same premises conveyed to the grantor
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                                                                                                                        STATE OF NEW YORK. COUNTY OF
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                                                      Wovember                 1997 .boforemo                          On lha                       day of                                     19        . before me
                                                                                                                       parsortally cume
                                SHAUN ZAKARIA

               execufed the foreocng matrument. and acknowledged                                                       to me known to be the individual described In and who
               that he                executed the aatne.                      ,,                                      executed the foregoing initrument and acknowledged
                                                                                                                       ‘9at                    executed the same.


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                                      r.'d.rr ™                                                                       the subscribing witness to the foregoing Instruman. . with
                                                                                                                  whom I am personally acquainted, who, being by me duly
              that     he is the                                                                                  sworn, did depose and say that                           he resides at
              of

              In ..w             u                              ■ the corporation described                                                                                               :lhat          he knows
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              knows the seal of said corporation: that the seal affixed to said                                  that
                                                                                                                                    he. said subscribing witness, was present and saw
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                                                name theretootbysaid
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                                                                                    and                                                       execute the same; and that
                                                                                                                 at the same time subscribed h                                                he. said witness,
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Case 1:22-cv-06010-RER-CLP   Document 77   Filed 04/30/25   Page 16 of 34 PageID #:
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                       EXHIBIT “C
        Case 1:22-cv-06010-RER-CLP              Document 77          Filed 04/30/25        Page 17 of 34 PageID #:
                                                        554

Ra^mon£Zeitoune
From:                               Raymond Zeitoune
Sent:                               Monday, April 14, 2025 8:54 PM
To:                                 Jason Mizrahi
Cc:                                 Joshua Levin-Epstein; Isaac Yedid
Subject:                            RE: Jones v. Mega Home & Linen, Inc. et al [22-cv-06010]



Why are you sending this to me? No clue what this litigation is about, and we are not counsel in this
matter. We do estate planning.




Regards,
Raymond Zeitoune, Esq.
Yedid & Zeitoune, PLLC
2442 Ocean Avenue, Suite A
(Use downward stairway located on corner of Ocean Ave & Ave T)
Brooklyn, New York 11229
Phone: (347) 461-9800
Email; ravmond@vzlawoffice.com
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information that is privileged, confidential or otherwise protected from disclosure. If you have received this e-mail in error,
please notify Yedid & Zeitoune, PLLC by return e-mail and destroy the original message and all copies thereof.




       Original message      -
From: Jason Mizrahi <Jason(g)levinepstein.com>
Date: 4/14/25 10:33 AM {GMT-05:00)
To: Raymond Zeitoune <raymond@yzlawoffice.com>
Cc: Joshua Levin-Epstein <Joshua(oHevinepstein.com>
Subject: Jones v. Mega Home & Linen, Inc. et al [22-cv-06010]

Mr. Zeitoune,

Good morning.

Please be advised that on April 11, 2025, the Honorable Ramon E. Reyes, Jr. entered an order to show cause, in
connection with a fraudulent conveyance made on the property located at 2008 East 13*'’ St., Brooklyn, NY 11229.

See attached, for your reference.

Regards,
Jason



                                                                1
     Case 1:22-cv-06010-RER-CLP                     Document 77           Filed 04/30/25          Page 18 of 34 PageID #:
                                                            555
Jason Mizrahi, Esq.
Levin-Epstein & Associates, P.C.
420 Lexington Avenue, Suite 2458
New York, NY 10170
Office: (212) 792-0048
Mobile: (301) 758-7351
Email: Jason@levineDstein.com


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Case 1:22-cv-06010-RER-CLP   Document 77   Filed 04/30/25    Page 19 of 34 PageID #:
                                     556




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                       EXHIBIT “D
                    Case 1:22-cv-06010-RER-CLP        Document 77   Filed 04/30/25        Page 20 of 34 PageID #:
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                     eroy J Jones                    X terminated
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                   Onlyonestop Com Inc                                           SSN XXX-XX-8841 <s>                Copy Employee




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PERSONAL




Profile




      First Name                    Middle Initial                  Last Name                          SufflK

      leroy                         j                               jones

                                    SSN                             Birth Date                         Gender
      Employee ID
      11                            XXX-XX-8841                     Jan 17,1971 (51)                   Male




      Primary Address
      1969 bergen st brooklyn NY, 11233 United States



      ^ (347)258-0694                                                                             3 francesvjones327@icfoud.com
                          Case 1:22-cv-06010-RER-CLP         Document 77   Filed 04/30/25      Page 21 of 34 PageID #:
                                                                     558




                           eroy J Jones                     X TERMINATED
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                                                                                                   Rate     Amourit   Tax            Anoanl    Tax      AiTiaunt   Deduction          Arnoui!l
                                               Earnings         Department   Char^eDale   Hours

Details for Employee 11 - Jones. Leroy, J
                                                                                                                                                                                                                Regular    Voucher#:   123
                                               SA                   100                    0.00    0.00      720.00   FWT             52.56    NYSDl       0.60                                  Entry Type:
11 'Jones, Leroy, J
                                                                                                                      MEDl            10.44    NYSIT      29.70                                  Net Pay;        557.38
Department; 100               Run#: 1
                 06/02/22 - 06/08/22                                                                                  NYLOC           21.00    SSEC       44.64                                  Net Check;        0.00
Pay Period:
                                                                                                                      NYPFL             3.68                                                     Dir Deposit;    557.38
Pay Date:                     06/13/22

                                                                                           0.00              720.00   Total Taxes                        162.62    Total Deductions      0.00
                                               Total Earnings
                                                                                                                                                                                                                Regular    Voucher#:   128
                                               SA                   100                    0.00    0.00      720.00   FWT             52.56    NYSDl       0.60                                  Entry Type:
11 - Jones, Leroy, J
                                                                                                                      MEDl             10.44   NYSIT      29.70                                  Net Pay;        557.38
Department:   100              Run#:   1
                                                                                                                                                          44.64                                  Net Check;        0.00
Pay Period;      06/09/22-06/15/22                                                                                    NYLOC           21.00    SSEC
                                                                                                                      NYPFL             3.68                                                     Dir Deposit;    557.38
Pay Date;                     06/17/22

                                                                                           0.00              720.00   Total Taxes                        162.62    Total DeducUons       0.00
                                               Total Earnings
                                                                                                                                                                                                                                       133
11 - Jones, Leroy, J                           SA                   100                    0.00    0.00      600.00   FWT             38.16    NYSDl       0.60                                  Entry Type:    Regular    Voucher#:
                                                                                                                      MEDl              8.70   NYSIT      22.68                                  Net Pay;        473.57
Department:   100              Run#:   1
                                                                                                                      NYLOC            16.02   SSEC       37.20                                  Net Check;        0.00
Pay Period:      06/16/22-06/22/22
                                                                                                                      NYPFL             3.07                                                     Dir Deposit;    473.57
Pay Dale:                     06/24/22

                                                                                           0.00              600.00   Total Taxes                        126.43    Total Deductions       0.00
                                               Total Earnings
11 - Jones, Leroy, J                           SA                   100                    0.00    0.00      600.00   FWT              38.16   NYSDl       0.60                                  Entry Type:    Regular    Voucher#:   138

                                                                                                                      MEDl              8.70   NYSIT      22.66                                  Net Pay;        473.57
Department:    100             Run#;   1
                                                                                                                                       16.02   SSEC       37.20                                  Net Check;        0.00
Pay Period;         06/23/22 - 06/29/22                                                                               NYLOC
                                                                                                                      NYPFL             3.07                                                     OIr Deposit;    473.57
Pay Date:                     07/01/22

                                                                                           0.00              600.00   Total Taxes                        126.43    Total Deductions       0.00
                                               Total Earnings
                                                                                                                                                                                                                Regular    Voucher#:   143
                                               SA                   100                    0.00    0.00      540.00   FWT              30,96   NYSDl        0.60                                 Entry Type:
11 - Jones, Leroy, J
                                                                                                                      MEDl              7.83   NYSIT       19.17                                 Net Pay:        431.60
Department: 100                Run#:   1
                                                                                                                      NYLOC            13.60   SSEC       33.48                                  Net Check:        0.00
Pay Period:         06/30/22 - 07/05/22
                              07/08/22                                                                                NYPFL             2.76                                                     Dir Deposit;    431.60
Pay Date:
                                                                                           0.00              540.00   Total Taxes                        108.40    Total Deductions       0.00
                                               Total Earnings
                                                                                                                                                                                                                                       148
                                               SA                   100                    0.00    0.00      720.00   FWT              52.56   NYSD!        0.60                                 Entry Type;    Regular    Voucher#;
11 - Jones, Leroy, J
                                                                                                                      MEDl             10.44   NYSIT       29.70                                 Net Pay:        557,38
Department: 100            Run#: 1
                                                                                                                      NYLOC            21.00   SSEC        44,64                                 Net Check;        0,00
Pay Period:      07/07/22-07/13/22
                                                                                                                      NYPFL             3.68                                                     Dir Deposit:    557.38
Pay Date:                      07/15/22

                                                                                           0.00              720.00   Total Taxes                        162.62    Total Deductions       0.00
                                               Tola! Earnings
                                               SA                    100                   0.00    0.00      600.00   FWT              38.16   NYSDi        0.60                                 Entry Type:    Regular    Voucher#:   153
11 - Jones, Leroy, J
                                                                                                                      MEDl              8.70   NYSIT       22,68                                 Net Pay:        473.57
Department:    100             Run#:       1
                                                                                                                      NYLOC            16.02   SSEC        37.20                                 Net Check;         0.00
Pay Period:         07/14/22-07/20/22
                                                                                                                      NYPFL             3.07                                                     Dir Deposit:    473.57
Pay Dale:                      07/22/22

                                                                                            0.00             600.00   Total Taxes                         126.43   Total Deductions       0.00
                                               Total Earnings
                                                                                                                                                                                                                Regular    Voucher#:   158
                                               SA                    100                    0.00   0,00      600.00   FWT              38.16   NYSDl        0.60                                 Entry Type:
11 - Jones, Leroy, J
                                                                                                                      MEDl              8.70   NYSIT       22.68                                 Net Pay:        473.57
Department;    100             Run#:       1
                                                                                                                      NYLOC            16.02   SSEC        37.20                                 Net Check:         0.00
Pay Period:         07/21/22-07/27/22
                                                                                                                      NYPFL             3.07                                                     Dir Deposit:    473.57
Pay Date:                      07/29/22

                                                                                            0.00             600.00   Total Taxes                         126.43   Total Deductions       0.00
                                               Total Earnings
                                                                                                                                                                                                                Regular    Voucher#:   163
                                               SA                    100                    0.00    0,00     600.00    FWT             38.16    NYSDl       0.60                                 Entry Type:
11 - Jones, Leroy, J
                                                                                                                       MEDl             8.70   NYSIT       22.68                                 Net Pay:        473.57
Department:    100             Run#;       1
                                                                                                                                       16.02    SSEC       37.20                                 Net Check:         0,00
Pay Period:         07/28/22 - 08/03/22                                                                                NYLOC
                                                                                                                                        3.07                                                     Dir Deposit:    473.57
Pay Date:                      08/05/22                                                                                NYPFL
                                                                                            0.00             600.00    Total Taxes                        126.43   Total Deductions       0.00
                                               Total Earnings




                                                                                                            Onlyonestop Com Inc
                                                                                                               Company-Division (ONY-001)


3^7/2023
                                            Case 1:22-cv-06010-RER-CLP                        Document 77                Filed 04/30/25               Page 24 of 34 PageID #:
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                                                                                      fiatp    Amount     Tex           A/Tiouni   Tax     Amoufil    Deduction          Anojnt
                                   Earnings         Department   ChergeOale   Hours
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Details for Employoe 11 ● Jones, Leroy, J

                                                                              Houre            /^ount     Tax                              Amount     Deduction          Aniount
                                   Earning
                                   SA                                          0.00           11.880.00   FWT            816.48    NYSDI      10.80                                Net Pay:       9,278.49
Report Totals                                                                                             MEDI           172.26    NYS1T    471.42                                 Net Check;         0.00

                                                                                                          NYLOC          333.25    SSEC     736.56                                 Oir Deposit:   9.270.49
                                                                                                          NYPFL           60.74                                                    No. Pays:            18

                                                                                                                                           2,601.61   Total Deductions      0.00
                                   Total Earnings                              0.00           11,880.00   Total Taxes




                                                                                              Onlyonestop Com Inc
                                                                                                  Company-Division (ONY-001)


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                              Case 1:22-cv-06010-RER-CLP                                 Document 77                     Filed 04/30/25                 Page 25 of 34 PageID #:
                                                                                                 562
                                                                                             Account                  Atiount/Rale        StadOale          EndOate             ACtfType       PreNoleDate
jones, leroyj (I’)         Direct Deposit ASA         BANK

19S9 bergen st                                        JPMORGAN CHASE BANK. NA                874579514                100.0000'           01/01/2022        12/31/9999          Checking       04/06/2022
                           021000021
brooklyn. NY 11233         No Deductions
                                                                                                 Rate                 Start Date          EnO Date
Status: Terminated         PayRale Code                Description
Department: 100: Default   BASE                        Base Rate                             Q.OOOOOO                 01/01/2022          12/31/9999
SSN:   XXX-XX-XXXX                                                                                                                                                                                                      Gross Percent
                           Tax Code        TaxType   Description                    Marital Status       Exemptions      Exempt Blocked    Additional Tax     Addt'l Tax Type    Tax Location Code
Pay Frequency: 'A'eekly                                                                                  0               0                                                      NY                   NY Employee               0.00%    Default
                           FWT             Fwr       Federal Withholding            Single
Pay Type: Salary                                                                                         0               0
                           FUTAER          FUTA      Federal Unemployment
Birth Date: 01/17/1971
                           NYSIT           SIT       NY State Withholding           Single               0               0
Hire Date: 04/06/2022
                           NYSDI           SDI       NY Disability Employee                              0               0
Gender; Male
                           SSEC            SSEC      Social Security Employee                            0               0
AutoPay: True                                                                                                            0
                           MEDl            MEDl      Medicare                                            0
TaxType: W2                                                                                              0               0
                           SSECER          SSEC      Social Security Employer
Standard Hours: 0.0000
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                                           LOC                                      Single               0               0
                           NYLOC                     NY City Local Wthholding
                           NYSUIER         SUI       NY Unemployment Employer                            0               0
                           NYMTA           MTA       NY Metropolitan Commuter Tax   Zone 1               0               0
                           NYPFL           PFL       Zone 1                                              0               0
                                                     NY Paid Family Leave




Sort 3y: Employee Name                                                                                                                                                               Employee Master Setup
Employee Number(s): 11                                                                  Onlyonestop Com Inc                                                                                      Page 1 of 1

                                                                                                     {ONY-001)                                                                                       8/7/2023

                                                                                             105 Jamaica Avenue                                                                                                    768 Bedford Avenua Efookiyn
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